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                         EXHIBIT 1
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 1 LESLIE J. HUGHES (CO Bar No. 15043) (hugheslj@sec.gov )
   LEE C. ROBINSON (CO Bar No. 32734) (robinsonlc@sec.gov )
 2 Attorneys for Plaintiff
 3 U.S. Securities and Exchange Commission
   1801 California Street, Suite 1500
 4 Denver, Colorado 80202-2656
   Telephone: (303) 844-1000
 5 Fax: (303) 844-1068
 6                                UNITED STATES DISTRICT COURT
 7                            NORTHERN DISTRICT OF CALIFORNIA
 8                           SAN FRANCISCO DIVISION
 9 __________________________________________
   SECURITIES AND EXCHANGE                      Case No. 3: 06-CV-6384 CRB
10
         COMMISSION,                            STIPULATION AND [PROPOSED]
11                                              ORDER SELECTING ADR PROCESS
12                                Plaintiff,
13         v.
14 PEREIRA, et al.
15                           Defendants.
     __________________________________________
16
17         Counsel report that they have met and conferred regarding ADR and have reached the
18 following stipulation pursuant to Civil L.R. 16-8 and ADR L.R. 3-5:
19         Court Processes:
20         __      Non-binding Arbitration (ADR L.R. 4)
21         __      Early Neutral Evaluation (ENE) (ADR L.R. 5)
22         __      Mediation (ADR L.R. 6)
23         Private Process:
24         X       Private ADR (please identify process and provider): The parties agree to hire and
25 meet with a former judge (“Mediator”) employed by JAMS for a one day session to discuss
26 possible settlement. The parties agree to meet on or before June 8, 2007. The parties agree the
27 plaintiff and each defendant will pay one seventh of the costs of the mediator.
28

     Stipulation on ADR Process
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1                 The report of the mediator will be due on or before June 29, 2007.
2          DATED: February 13, 2007
3
4                                              /s/Leslie J. Hughes
5                                              Leslie J. Hughes, Esq. (Colo. 15043)
                                               Attorney for Plaintiff SEC
6
7
8                                              /s/Elliot Peters
                                               Elliot Peters
9                                              Attorney for Defendants Pereira and Stanton
10
11
                                               /s/Neal Stephens
12                                             Neal Stephens
                                               Attorney for Defendant Kern
13
14
15                                             /s/Robert Perrin
                                               Robert Perrin
16
                                               Attorney for Defendant McFarland
17
18
19                                             /s/David Priebe
                                               David Priebe
20                                             Attorney for Defendant McFarland
21
22
                                               /s/Frank Ubhaus
23                                             Frank Ubhaus
                                               Attorney for Defendant Cornmesser
24
25
26
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28

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     Stipulation on ADR Process
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1 [PROPOSED] ORDER
2                   Pursuant to the Stipulation above, the captioned matter is hereby referred to
3                   __     Non-binding Arbitration
4                   __     Early Neutral Evaluation (ENE)
5                   __     Mediation
6                   __     Private ADR
7
8                   Deadline for ADR session
9                   __     90 days from the date of this order.
10                  __     other ________________________
11
           IT IS SO ORDERED.
12
           Dated:
13
14
                                                  ____________________________________
15                                                Honorable Charles R. Breyer
                                                  UNITED STATES DISTRICT COURT JUDGE
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     Stipulation on ADR Process
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                                       CERTIFICATE OF SERVICE
1
2          I, Leslie J. Hughes, declare under penalty of perjury under the laws of the State of
3 Colorado that on February 13, 2007, I electronically filed the Stipulation on Selection of ADR
4 Process with the Electronic Case Filing system which will send notification of such filing to the
5 following attorneys for the parties at the email addresses listed below:
6        David Banie david.banie@dlapiper.com, trina.walker@dlapiper.com
7          Angela Lucille Dunning       adunning@cooley.com,
8          Kara L. Erdodi      kara.erdodi@berliner.com, jwillson@berliner.com
9          William S. Freeman       freemanws@cooley.com, galancr@cooley.com
10         Rachael E. Meny       rem@kvn.com, efiling@kvn.com; pal@kvn.com
11         Nicolas Morgan       nicolas.morgan@dlapiper.com, jette.brasher@dlapiper.com
12         Elliot R. Peters    erp@kvn.com, efiling@kvn.com; aap@kvn.com
13         David Priebe       david.priebe@dlapiper.com, stacy.murray@dlapiper.com
14         Lee Conan Robinson        robinsonlc@sec.gov
15         David J. Schindler     david.schindler@lw.com, terri.lilley@lw.com, and
16                kathryn.bowman@lw.com
17         Shana N. Stanton      sns@kvn.com, efiling@kvn.com; lhl@kvn.com; bdl@kvn.com
18         Neal J. Stephens      nstephens@cooley.com
19         Quyen Le Ta        qta@kvn.com
20         Frank R. Ubhaus       fru@berliner.com, cep@berliner.com
21         DATED: February 13, 2007
22
23                                               /s/ Leslie J. Hughes____________________
24                                               Leslie J. Hughes, Esq. (Colo. 15043)

25
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                                                    4
     Stipulation on ADR Process
     Case No. 06-CV-06384 CRB
